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13                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
14
                                     WESTERN DIVISION
15
     ANGEL N. JOHNSON,                        ) No. 2:21-cv-03656-RAO
16                                            )
           Plaintiff,                         ) [PROPOSED]
17                                            )
                  v.                          ) JUDGMENT OF REMAND
18                                            )
                                              )
19   KILOLO KIJAKAZI, Acting                  )
                                              )
20   Commissioner of Social Security,         )
                                              )
21         Defendant.                         )
22
           The Court having approved the parties’ Stipulation to Voluntary Remand
23
24   Pursuant to Sentence 4 of 42 U.S.C. § 405(g) and to Entry of Judgment (“Stipulation

25   of Remand”) lodged concurrent with the lodging of the within Judgment of Remand.
26   //
27   //
28   //
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1          IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the above-
2    captioned action is remanded to the Commissioner of Social Security for further
3    proceedings consistent with the Stipulation of Remand.
4
     DATED: December 2, 2021
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                                           HON. ROZELLA A. OLIVER
6                                          UNITED STATES MAGISTRATE JUDGE
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